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Attorneys for Plaintiff

                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                 )
                                            )
                          Plaintiff,        )
                                            )
         v.                                 )
                                            )   No. 3:11-cr-00022-RJB
  FRANCIS SHAEFFER COX,                     )
                                            )
                          Defendant.        )
                                            )

               UNOPPOSED MOTION FOR PROTECTIVE ORDER

       The United States, by undersigned Assistant United States Attorney, pursuant to

Federal Rule of Criminal Procedure 16, moves the Court for an order restricting discovery

provided by the United States to defense counsel pursuant to order of the court at Docket

720, and in order to protect the personal identification information (“PII”) of witnesses or

other individuals associated with the investigation of the defendant. “At any time the court

may, for good cause, deny, restrict, or defer discovery or inspection, or grant other



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appropriate relief.” FRCrP 16(d)(1).

   The proposed protective order applies to “Protected Information,” which includes any

of the following information, produced by the government in discovery, regarding any

person other than the defendant:

   1. A person’s social security number;

   2. A person’s signature;

   3. A person’s residential or business address;

   4. A person’s birthdate; and

   5. A person’s phone number.

Under the proposed order, the Defense Team (i.e. the defendant, defense counsel, counsel’s

staff, and counsel’s investigators) shall take reasonable precautions to prevent Protected

Information contained in discovery provided by the United States pursuant to Docket 720

from being disseminated to any person who is not a member of the Defense Team.

       Further, the defendant may not possess Protected Information except in counsel’s

office or the courtroom. Accordingly, the Defense Team shall not allow the defendant to

retain copies, printouts, or digital versions of discovery containing Protected Information.

       However, the defendant may possess discovery in which Protected Information has

been redacted.

       “Good cause” exists in this case to restrict discovery because there is no reason for

anyone other than members of the defense team to view Protected Information. Moreover,

entry of the proposed protective order will allow the United States to make timely


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disclosure of discovery. Absent such an order, the United States would need to delay

discovery for sufficient time to redact Protected Information from discovery, a process that

is likely to prove cumbersome and slow.

       On April 24, 2019, defense counsel indicated that the defense does not oppose this

request.

       The United States submits that there is good cause to restrict discovery in this

fashion, and respectfully requests that the Court enter an order restricting discovery in the

form attached hereto.

RESPECTFULLY SUBMITTED this 25th day of April, 2019, in Anchorage, Alaska.

                                          BRYAN SCHRODER
                                          United States Attorney

                                          s/Steven E. Skrocki
                                          STEVEN E. SKROCKI
                                          Assistant U.S. Attorney




CERTIFICATE OF SERVICE

I hereby certify that on April 25, 2019,
a true and correct copy of the foregoing
was served electronically on the following:

Mike Filipovic

s/ Steven E. Skrocki
Office of the U.S. Attorney
Attorney for Plaintiff



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